Case 2:09-cr-00056-DBH Document 540 Filed 12/02/11 Page 1 of 1      PageID #: 1237



                       UNITED STATES DISTRICT COURT

                              DISTRICT OF MAINE


ADOLPHUS EDWARDS,                    )
                                     )
                     MOVANT          )
                                     )
v.                                   )      CRIMINAL NO. 2:09-CR-56-DBH
                                     )       (CIVIL NO. 2:11-CV-97-DBH)
UNITED STATES OF AMERICA,            )
                                     )
                     RESPONDENT      )


  ORDER AFFIRMING RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


        On October 25, 2011, the United States Magistrate Judge filed with the
court, with copies to the parties, her Recommended Decision on § 2255 Motion.
The movant filed his objection to the Recommended Decision on November 10,
2011.    I have reviewed and considered the Recommended Decision, together
with the entire record; I have made a de novo determination of all matters
adjudicated     by   the   Recommended   Decision;    and   I   concur   with   the
recommendations of the United States Magistrate Judge for the reasons set
forth in the Recommended Decision, and determine that no further proceeding
is necessary.
        It is therefore ORDERED that the Recommended Decision of the Magistrate
Judge is hereby ADOPTED. The § 2255 motion is DENIED. Finally, I find that no
certificate of appealability shall issue in the event the movant files a notice of
appeal because there is no substantial showing of the denial of a constitutional
right within the meaning of 28 U.S.C. § 2253(c)(2).

        SO ORDERED.

        DATED THIS 2ND DAY OF DECEMBER, 2011

                                            /S/D. BROCK HORNBY
                                            D. BROCK HORNBY
                                            UNITED STATES DISTRICT JUDGE
